                      Case 1:21-mj-00289-GMH Document 1 Filed 03/08/21 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________

                  United States of America                          )
                             v.                                     )
                    Corinne Lee Montoni                             )      Case No.
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                                   in the
                       District of            Columbia          , the defendant(s) violated:

            Code Section                                                      Offense Description
 18 U.S.C. § 1512(c)(2),                         Obstruction of an Official Proceeding
 18 U.S.C. §§ 1752(a)(1) and (2),                Entering and Remaining; Disorderly and Disruptive Conduct in Restricted
                                                 Building or Grounds

 40 U.S.C. §§ 5104(e)(2)(D) and (G)              Disorderly Conduct; Parading, Demonstrating, or Picketing in a Capitol
                                                 Building

 18 U.S.C. § 2(a)                                Aiding and abetting the commission of these offenses against the United
                                                 States

         This criminal complaint is based on these facts:
 SEE ATTACHED AFFIDAVIT




         ✔ Continued on the attached sheet.
         u



                                                                                               Complainant’s signature

                                                                                      Timothy D. Taylor, Special Agent
                                                                                                Printed name and title
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Telephone                                        VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 
                                                                                                              Digitally signed by
Date:             03/08/2021                                                                                  G. Michael Harvey
                                                                                                  Judge’s signature

City and state:                           Washington, DC                          U.S. Magistrate Judge G. Michael Harvey
                                                                                                Printed name and title
